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                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

CELLETTE CRAWFORD                                       CIVIL ACTION

VERSUS                                                  NO. 17-13397

MARLIN N. GUSMAN, ET. AL.                               SECTION "B"(4)

                          ORDER AND REASONS

     Before the Court is Defendant Gary Maynard’s “Motion to

Dismiss” (Rec. Doc. 16), and Defendants, Sheriff Marlin Gusman,

Brandon Savage, Jessica Geddies, Kenneth Goodman, Alisha Comeaux,

Ronika Stewart, Kanisha Carey, and Alvin White’s “Motion to Dismiss

Amended Complaint for Failure to State a Claim” (Rec. Doc. 28).

Plaintiff has filed its responses in opposition (Rec. Docs. 29 and

37) to the above-referenced motions to dismiss. Also before the

Court is Defendant Maynard’s Reply (Rec. Doc. 46). For the reasons

discussed below,

     IT IS ORDERED that Defendant Maynard’s Motion to Dismiss (Rec.

Doc. 16) is GRANTED with prejudice.

     IT IS FURTHER ORDERED that Defendants Sheriff Marlin Gusman,

Brandon Savage, Jessica Geddies, Kenneth Goodman, Alisha Comeaux,

Ronika Stewart, Kanisha Carey, and Alvin White’s Motion to Dismiss

(Rec. Doc. 28) is DENIED.

FACTS AND PROCEDURAL HISTORY

     On May 3, 2016, Colby Crawford was arrested and taken into

custody by the Orleans Parish Sheriff’s Office (“OPSO”). Rec. Doc.


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11 at 5. On February 22, 2017, at approximately 7:42 p.m. and while

still in pre-trial OPSO custody, Colby collapsed and died of a

cocaine drug overdose. Id. at 10. Plaintiff Cellette Crawford

(“Plaintiff”), Colby’s mother, has filed Complaint against various

defendants (Rec. Docs. 1 and 11), alleging violations of Colby’s

constitutional   rights,   42   U.S.C.   §   1983,   the   Americans   with

Disabilities Act (“ADA”), and relevant Louisiana constitutional

and statutory laws. Rec. Doc. 11 at 19-24.

     Specifically, Plaintiff alleges that at the time her son Colby

was arrested in 2016 he had been diagnosed with and in treatment

for bipolar disorder, schizophrenia, and substance abuse. Rec.

Doc. 11 at 5. Allegedly, upon his arrest Colby requested to be

placed on a psychiatric tier at the Orleans Justice Center (“OJC”).

     Shortly after entering OPSO custody at the OJC, Colby was

seen by Defendant Dr. Angela Green (“Defendant Green”). Pursuant

to her consultation, Defendant Green prescribed Colby psychiatric

medications and noted that his symptoms included “seeing spirits

and ghosts, insomnia, anxiety, paranoia, and bad dreams.” Rec.

Doc. 11 at 5. Although Defendant Green did not recommend Colby for

transfer to Elayn Hunt Correctional Center’s special psychiatric

unit, he was eventually transferred there on June 1, 2016. Id. at

6. The Complaint alleges that while at Elayn Hunt facility, Colby

was reported to have been participating in therapies and taking




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his medication on a consistent basis. Id. Colby was transferred

back to OJC on August 1, 2016.

       Subsequent to his transfer back to OJC, there was an alleged

decline in Colby’s welfare. It is alleged that Defendant Lena Mason

(“Defendant Mason”) notes, after a medical visit, that Colby’s

symptoms had returned. He was reportedly only taking his medication

half of the time. Colby also reported to Defendant Mason that he

was getting into fights, and requested a transfer to a psychiatric

tier. Rec. Doc. 11 at 7. However, Colby remained in general

population at OJC.

        It is uncontested that on February 22, 2017, an inmate

introduced cocaine into Colby’s tier at OJC. Rec, Doc, 11 at 9.

The Complaint alleges that said inmate was either intentionally or

negligently      permitted    to    smuggle      illegal    drugs    into     the

correctional facility. Defendants Brandon Savage, Jessica Geddies,

Kenneth Goodman, Alisha Comeaux, Ronika Stewart, Kanisha Carey,

and    Alvin   White    (collectively,     the    “OPSO    Defendants”)      were

allegedly assigned to perform security checks and tasked with

monitoring Colby’s tier on the day of his death. Plaintiff alleges

that the OJC video surveillance system “plainly showed inmates,

including      Colby,   ingesting    cocaine      and     engaging   in     other

prohibited behavior throughout the day on February 22, 2017.” Id.

As a result, Colby Crawford died of a cocaine overdose.




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       The instant Complaint asserts four causes of action. Rec.

Doc. 11. Plaintiff’s first cause contends that all defendants,

individually and under color of law, deprived Colby of certain

rights violating the Fourteenth amendment to the constitution, and

42 U.S.C. § 1983. Plaintiff’s second cause of action alleges that

Defendant Gusman, Defendant Maynard, and Defendant Correct Care

Solutions (“Defendant CCS”) “established, condoned, ratified, and

encouraged       customs,   policies,       patterns,   and      practices    that

directly and proximately caused” the complained of violations of

Colby’s rights. Rec. Doc. 11 at 20. Third, Plaintiff asserts claims

pursuant to Section 504 of the Rehabilitation Act 1 and the ADA

against     Defendant   Gusman.    Finally,      Plaintiff’s       fourth    cause

asserts gross negligence and intentional misconduct against all

defendants. Rec. Doc. 11 at 24. Plaintiff’s fourth cause of action

is    asserted    against   Defendants      Gusman   and   CCS    via   vicarious

liability and/or respondeat superior. Id.

LAW AND ANALYSIS

       Rule 12(b)(6) of the Federal Rules of Civil Procedure allows

a party to move for dismissal of a complaint for failure to state

a claim upon which relief can be granted. Such a motion is rarely

granted because it is viewed with disfavor. See Lowrey v. Tex. A

& M Univ. Sys., 117 F.3d 242, 247 (5th Cir. 1997) (quoting Kaiser




1   29 U.S.C. § 701.

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Aluminum & Chem. Sales, Inc. v. Avondale Shipyards, Inc., 677 F.2d

1045, 1050 (5th Cir. 1982)).

       Upon identifying the well-pleaded factual allegations, courts

“assume their veracity and then determine whether they plausibly

give rise to an entitlement of relief.” Id. at 1950. A claim has

facial plausibility when the plaintiff pleads factual content that

allows   the   court    to   draw    the       reasonable   inference       that    the

defendant is liable for the misconduct alleged.” Id. at 1949. This

is a “context-specific task that requires the reviewing court to

draw   on   its   judicial   experience          and    common    sense.”    Id.    The

plaintiffs     must    “nudge[]     their      claims    across    the   line      from

conceivable to plausible.” Twombly, 550 U.S. at 570.

  A. DEFENDANT MAYNARD’S MOTION TO DISMISS (Rec. Doc. 16)

       Defendant contends that the claims alleged against him arise

out of a court-appointed authority, and should therefore, be

dismissed pursuant to the doctrine of judicial immunity. Rec. Doc.

16 at 1. Defendant Maynard further asserts that should this Court

find suit against the office of Compliance Director a proper

remedy, he is no longer the proper defendant as he has resigned

from the position. Rec. Doc. 30-2 at 5.

       The Compliance Director is a position that was created by a

Stipulated Order of the Court, in order to bring the OJC into

compliance with a prior Consent Judgment entered in the case. Jones

et al v. Gusman, Civil Action No. 12-859, Ecf. No. 1082 (E.D.La

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Jun. 2013). The Consent Judgement was the outcome of a class action

suit initiated by prisoners against the Orleans Parish Prison in

April of 2012. The district court judge eventually approved a

Consent     Judgement,   requiring        Defendant       Gusman    to    implement

“systemic     and   durable        reforms     to   address        pervasive     and

longstanding    problems      at   the    jail.”    Id.    In   April    2016,   the

plaintiffs filed a “Motion to Appoint Receiver” requesting the

Court appoint a receiver to carry out the remedies provided for in

the Consent Judgment. Jones et al v. Gusman, Civil Action No. 12-

859, Ecf. No. 1009. After evidentiary proceedings, a Stipulated

Order was signed by all parties and the Court. See Ecf. No. 1082.

The Stipulated Order provides that the Compliance Director will

have “final authority to operate” the OJC and “all jail facilities,

including authority over the entire prisoner population in the

custody of” the OPSO. Id. The Stipulated Order also provides that

the Complaince Director is “answerable only to the Court.” Id. at

3.

      The Supreme Court has clearly expressed that the question of

absolute,     judicial-immunity          entails    a     functional      approach.

Forrester v. White, 484 U.S. 219, 223 (1988). This functional

approach should examine the “nature of the functions with which a

particular    official   or    class      of   officials    has    been    lawfully

entrusted." Id. Further, this Court should “evaluate the effect

that exposure to particular forms of liability would likely have

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on the appropriate exercise” of such functions. See id. “Court

appointed receivers act as arms of the court and are entitled to

share the appointing judge's absolute immunity provided that the

challenged actions are taken in good faith and within the scope of

the authority granted to the receiver.” Davis v. Bayless, 70 F.3d

367, 373 (5th Cir. 1995).

     Here, we find the record reflects the Compliance Director to

be a court-appointed receiver, entitled to derivative judicial

immunity from the Plaintiff’s federal and state law claims. The

Compliance Director was a position created and funded by the Court,

tasked with implementing the substantive measures provided for in

the Court’s consent judgment. Defendant unsuccessfully attempts to

distinguish the facts at bar from those in the Plata decision. See

generally, Plata v. Schwarzenegger, No. C01-1351 TEH, 2005 WL

2932253, at *1 (N.D. Cal. Oct. 3, 2005); see also Rec. Doc. 29.

Holding the Compliance Director liable would essentially find the

Court liable for its attempt to adjudicate the dispute between

prisoners   and   the   OPSO.   This       is   highlighted   by   the   Court’s

acceptance of Defendant Maynard’s resignation, and its subsequent

appointment of the current Compliance Director, Darnley Hodge, Sr.

Jones et al v. Gusman, Civil Action No. 12-859, Ecf. No. 1151.

      Accordingly, Defendant Maynard’s Motion to Dismiss (Rec.

Doc. 16) is GRANTED with Prejudice.




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  B. DEFENDANT GUSMAN AND OPSO’S MOTION TO DISMISS (Rec. Doc. 28)

       Plaintiff alleges individual and official capacity claims

against Defendant Gusman and the OPSO Defendants. Specifically,

Plaintiff alleges that Defendant Gusman is liable the following

violations: 1) under the Fourteenth Amendment and 42 U.S.C. § 1983,

2) vicarious liability for the OPSO Defendant’s violations of

Plaintiff’s rights, 3) violations of the ADA and Section 504 of

the     Rehabilitation     Act,    and       4)   violations     of   Louisiana

constitutional and statutory law. Plaintiff alleges the following

violations of Plaintiff’s rights against the OPSO Defendants: 1)

under the Fourteenth Amendment and 42 U.S.C. § 1983, and 2)

Louisiana constitutional and statutory law.

  1. DEFENDANT GUSMAN

       Plaintiff’s complaint alleges four causes of action against

Defendant Gusman, individually and in his official capacity as

Sheriff of Orleans Parish. “Local government is liable under §

1983 for its policies that cause constitutional torts.” McMillian

v. Monroe Cty., Ala., 520 U.S. 781, 784 (1997). Such a claim

requires     proof   of   an   official      policy   as   the   cause   of   the

constitutional deprivation. Turner v. Houma Municipal Fire &

Police Civil Service Board, 229 F.3d 478, 483 (5th Cir. 2000).

       Under 42 U.S.C. § 1983, Monell liability "requires proof of

three elements: (1) a policymaker; (2) an official policy; (3)

and a violation of constitutional rights whose moving force is

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the policy or custom." Piotrowski v. City of Houston, 237 F.3d

567, 578 (5th Cir. 2001). The policymaker must have actual or

constructive knowledge of the official policy or custom. Pineda

v. City of Houston, 291 F.3d 325, 328 (5th Cir. 2002). The Fifth

Circuit has held that “actual knowledge may be shown by such means

as    discussions    at     council      meetings    or   receipt    of     written

information.” Hicks-Fields v. Harris Cnty., Tex., 860 F.3d 803,

808-09 (5th Cir. 2017) (quoting Bennett v. City of Slidell, 728

F.2d 762, 768 (5th Cir. 1984)). “Constructive knowledge” may be

found “where the violations were so persistent and widespread that

they were the subject of prolonged public discussion or of a high

degree of publicity.” Id.

      Defendant Gusman contends that “there can be no liability

unless those [Colby’s] injuries resulted from some official policy

which the Sheriff had adopted or . . . was required to adopt.”

Rec. Doc. 28-1 at 7 (quoting Campbell v. Bergeron, 654 F.2d 719

(5th Cir. 1981)). However, Plaintiff’s complaint alleges just the

sort of patterns and practices that resulted in an official

policy. Plaintiff’s Complaint alleges that Defendant Gusman was

personally aware of various unconstitutional practices at the

OPSO,    yet    failed    to    remedy    said     practices.   Rec.      Doc.   37.

Specifically, the Complaint alleges that Defendant Gusman was

aware    of    continuous      violations     of   OPSO   policy    by    Defendant

Gusman’s deputies, severe understaffing, failure to train and

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supervise deputies, and that this failure to remedy the continuous

violations      amounted       to        gross     negligence       and    deliberate

indifference. Rec. Doc. 37; Rec. Doc. 11.

      The Complaint alleges that in 2009, a “findings letter” was

issued    by   the   Department          of   Justice    (“DOJ”),    noting     several

employment and mental healthcare deficiencies, which amounted to

serious constitutional violations. The letter from the DOJ is

alleged to have put Defendant Gusman on notice of the complained

of violations. The Complaint further alleges that Defendant Gusman

was made aware of these same and allegedly continuing violations,

on multiple subsequent occasions, including via a consent decree

issued in prior litigation 2, and subsequent Monitor’s Reports

issued in compliance with the Jones case reporting the above-

mentioned      deficiencies,        as    recent    as   May   2017—shortly      after

Colby’s     death.    Taking    Plaintiff’s          allegations      to   be    true,

Plaintiff’s      Complaint     sufficiently          states     individual      claims

against Defendant Gusman.

      For the same reasons above, Plaintiff’s Complaint also states

a claim against Defendant Gusman in his official capacity as well.

Defendant Gusman contends that the Court “must find that the

offender committed the same specific violation in the specific

scenario related to the violation in the instant matter.” Yet the


2 See Jones et al. v. Gusman, Civil Action No. 12-859 (E.D.La Jun.
2013) (the “Jones case”).

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DOJ letter, as well as language in the Consent Judgment issued in

the Jones case amount to notice of the exact same constitutional

violations alleged herein. Specifically, Defendant Gusman has been

made aware on multiple occasion of the egregious constitutional

violations occurring at OJC. Defense counsel’s argument that the

allegations citing the Jones consent judgment are “generic,” are

quite alarming. Rec. Doc. 28-1 at 10. Complete lack of supervision

and     deliberate    indifference    to    the   mental    health   needs   of

incarcerated individuals at OJC are the specific violations that

Plaintiff alleges and they are the specific violations that the

Government and this Court have already found to pervasively exist

at OJC. Defendant’s attempt to irrationally narrow the scenario

required to place Defendant Gusman on notice is unavailing. It is

that exact lack of supervision and failure to train deputies that

resulted in the allegations here that inmate Samuel Fuller was

successfully able to smuggle cocaine into a housing unit at OJC,

which allowed Colby and other inmates to use cocaine throughout

the day in the tier Colby was being housed.

        ADA and Section 504 Liability

        Plaintiff’s    amended   complaint     asserts     a   claims   against

Defendant Gusman for violation of the Americans with Disabilities

Act, and Section 504 of the Rehabilitation Act. Rec. Doc. 11 at

22. 42 U.S.C. § 12132 provides that:




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     [N]o qualified individual with a disability shall, by
     reason   of   such   disability,   be    excluded   from
     participation in or be denied the benefits of the
     services, programs, or activities of a public entity, or
     be subjected to discrimination by any such entity.

42 U.S.C. § 12132. “The language of Title II generally tracks the

language of Section 504 of the Rehabilitation Act of 1973, and

Congress' intent was that Title II . . . work in the same manner

as Section 504.” Hainze v. Richards, 207 F.3d 795, 799 (5th Cir.

2000). Thus, in order to state a claim Plaintiff must allege facts

to support “(1) that Colby was a qualified individual within the

meaning    of   the    ADA;   (2)   that    he   was   being   excluded    from

participation in, or being denied benefits of, services, programs,

or activities for which the public entity is responsible, or is

otherwise being discriminated against by the public entity; and

(3) that such exclusion, denial of benefits, or discrimination was

by reason of his disability.” Melton v. Dallas Area Rapid Transit,

391 F.3d 669, 671–72 (5th Cir. 2004).

     Defendants’ argument that Plaintiff has “not stated any major

life activity which was substantially limited with respect to Colby

Crawford” fails. Plaintiff’s complaint alleges that Colby Crawford

suffered    from      schizophrenia,    bipolar,       and   substance    abuse

disorders. “Major life activities” are defined as:

     Caring for oneself, performing manual tasks, seeing,
     hearing, eating, sleeping, walking, standing, sitting,
     reaching,   lifting,   bending,   speaking,   breathing,
     learning,     reading,      concentrating,     thinking,
     communicating, interacting with others, and working; and

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29 C.F.R. § 1630.2. Additionally, the term “major” “shall not be

interpreted   strictly    to    create   a   demanding     standard       for

disability.” Id. “Whether an activity is a ‘major life activity’

is not determined by reference to whether it is of ‘central

importance to daily life.’” Id.

     Colby Crawford had been hospitalized in the past due to such

disorders; and as described above, the employees at OJC had been

well aware of Colby’s mental disabilities, including his original

transfer to Elayn Hunt and subsequent medical follow-ups. Surely

the complained of experiences by Colby—including seeing spirits

and hearing voices—interfered with his ability to safely engage in

major life activities. Accordingly, Plaintiff sufficiently states

ADA and § 504 claims against Defendant Gusman.

2. OPSO Defendants

     Under Fifth Circuit precedent, “a plaintiff must establish

that an official acted with deliberate indifference.” Sibley v.

Lemaire, 184 F.3d 481, 489 (5th Cir. 1999). This standard applies

to pre-trial detainees like the decedent in this case. Id.

     Defendants’ motion to dismiss also seeks dismissal of the

individual capacity claims against the OPSO Defendants. Defendants

assert that Plaintiff fails to plead actual facts “which indicate

that the OPSO Defendants failed to act when they were either aware

or should have been aware of an unjustified risk of harm to


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plaintiff.” Rec. Doc. 28-1 at 4-6. In support of their contentions

the OPSO Defendants assert that at no time were any of the deputies

aware that illegal narcotic had been smuggled into the facility.

Rec. Doc. 28-1 at 7. OPSO Defendants maintain that Plaintiff fails

to allege facts that support a claim that the OPSO Defendants had

“subjective knowledge of a risk of harm to Colby Crawford.” Id.

        Defendants’           arguments      are     unavailing.        Taken    as     true,

Plaintiff     has      sufficiently          plead    individual    liability          claims

against the OPSO Defendants. Plaintiff’s complaint sets forth a

myriad of facts that highlight the OPSO Defendants’ deliberate

indifference        to       Colby    Crawford’s      rights.    Plaintiff’s          amended

complaint (Rec. Doc. 11) alleges that the OPSO Defendants either

were, or should have been aware, of the drug consumption that was

occurring on the day of Colby’s death. See Rec. Doc. 37 at 11.

The amended complaint alleges that these activities were clearly

shown    on   the      facility’s       surveillance          system,    that     the    OPSO

Defendants were tasked with monitoring said system and the inmate,

at thirty-minute intervals. Id. The amended complaint further

alleges that the OPSO Defendants went so far as to assist the

inmates, allowing them to intermingle in each other’s tiers and

“opening and closing cell doors at inmates’ requests.” Rec. Doc.

37 at 11. Accepting only for now factual allegations as true,

as we    must     in     a    Rule    12(b)(6)       motion    review,    the     complaint

supports      a   claim        that    the    OPSO     Defendants       had     “subjective

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knowledge of a risk of harm to Colby Crawford” where cocaine was

being ingested throughout the day and the OPSO Defendants failed

to monitor the inmates; especially an inmate alleged to have

repeatedly requested transfer out of general population, based on

well-documented mental and substance abuse challenges.

    New Orleans, Louisiana, this 8th day of August, 2018.



                                 ___________________________________
                                 SENIOR UNITED STATES DISTRICT JUDGE




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